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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
UNITED STATES OF AMERICA          §
                                  §
vs.                               §    NO: SA:17-CR-00814(1,2,3,6)-XR
                                  §
(1) FRANCISCO ENRIQUEZ            §
(2) SHANE MCDOUGAL                §
(3) JASON VILLA                   §
(6) ALFREDO ESPARZA JR.           §
                        ORDER GRANTING CONTINUANCE
                   AND AMENDING SCHEDULING ORDER

       On this day came on to be considered the Defendant's Alfredo Esparza Jr. (6)

Unopposed Motion to Continue Scheduling Order Deadlines. There being no severance granted

in this cause of action, the Court finds that the co-defendant(s) Francisco Enriquez (1), Shane

McDougal (2), Jason Villa (3) shall proceed to trial with movant.

       The Court finds that the period between September 13, 2021 and November 15, 2021 is

a reasonable period of necessary delay when a defendant is joined for trial with a co-defendant

and no motion for severance has been granted in order for the defendant to negotiate a plea;

and/or prepare for trial. The Court finds that the Ends of Justice served by taking such action

outweighs the best interest of the public and the defendant in a speedy trial, and further finds that

the above period shall be excluded in computing the time in which said defendant must be

brought to trial under the Speedy Trial Act, pursuant to Title 18, United States Code, Section

3161(h)(7)(A).

       It is hereby ORDERED that Defendant’s Alfredo Esparza Jr. (6) Unopposed Motion to

Continue (Doc. # 313) is GRANTED.

       It is FURTHER ORDERED that this case will proceed on the following-amended
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schedule AS TO ALL DEFENDANTS LISTED ABOVE:

       The deadline for notifying the Court of any PLEA AGREEMENT entered into
       by the parties in this cause is Friday, October 22, 2021. No plea agreement
       entered into after that date will be honored by this Court without good cause
       shown for the delay.

       DOCKET CALL or REARRAIGNMENT and PLEA are set for Thursday,
       November 04, 2021 at 1:30 P.M., in Courtroom 3 of the John H. Wood, Jr.,
       United States Courthouse, 655 E. Durango Blvd., San Antonio, Texas. Proposed
       jury instructions, voir dire, and motions in limine shall be filed by Friday,
       October 29, 2021.

       JURY SELECTION AND TRIAL are set for Monday, November 15, 2021 at
       9:30 A.M., in Courtroom 3 of the John H. Wood, Jr., United States Courthouse,
       655 E. Durango Blvd., San Antonio, Texas.

       AS A REMINDER TO THE ATTORNEY FOR DEFENDANT:

       If your client is in custody, arrangements should be made with the U.S. Marshal Service

prior to the date of jury selection and trial to ensure your client has proper attire. In addition,

whenever defendants or witnesses have a need for the services of the Court Interpreter, please

notify the Courtroom Deputy no later than five (5) days before this court setting.

       The Clerk of Court shall send a copy of this order to the United States Attorney, attorney

for the defendant, United States Marshal, United States Probation Officer, and Pretrial Services

Officer. Counsel for defendant will notify the defendant of this setting, and if the defendant

is on bond, advise the defendant that he or she must be present for all court settings unless

excused by the Court. All inquiries pertaining to this Scheduling Order should be directed to

Sylvia Ann Fernandez, Courtroom Deputy for Judge Xavier Rodriguez, at (210) 244-5011.

       Signed this 20th day of August, 2021.


                                                   ______________________________
                                                   XAVIER RODRIGUEZ
                                                   UNITED STATES DISTRICT JUDGE
